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                        UNITED STATES BANKRUPTCY COURT
                                 District of Delaware
                             824 Market Street, 3rd Floor
                                Wilmington, DE 19801


In Re:                                                     Chapter: 11
Waterlink, Inc.
835 North Cassady Avenue
Columbus, OH 43219
 EIN: 34−1788678                                           Case No.: 03−11989−MFW




                            Amended ORDER SETTING STATUS CONFERENCE



IT IS ORDERED that a Status Conference will be held on 3/8/22, at 02:00 PM in the United States Bankruptcy
Court, 824 Market Street, 5th Floor, Courtroom #4, Wilmington, DE 19801. All parties are directed to attend either
in person or telephonically.


 Debtor's Counsel is required to attend the hearing.
 Trustee and/or Trustee's Counsel is required to attend the hearing.



Date: 2/23/22
                                                                                  Mary F. Walrath
                                                                                  Bankruptcy Judge




(VAN−460)
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                                                                 United States Bankruptcy Court
                                                                      District of Delaware
In re:                                                                                                                    Case No. 03-11989-MFW
Waterlink, Inc.                                                                                                           Chapter 11
       Debtor
                                                       CERTIFICATE OF NOTICE
District/off: 0311-1                                                     User: admin                                                                 Page 1 of 3
Date Rcvd: Feb 23, 2022                                                  Form ID: van460                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                   Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                    regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 25, 2022:
Recip ID                   Recipient Name and Address
db                       + Waterlink, Inc., 835 North Cassady Avenue, Columbus, OH 43219-2203

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                         BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                        NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 25, 2022                                              Signature:            /s/Joseph Speetjens




                                     CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 23, 2022 at the address(es) listed
below:
Name                                 Email Address
Brent Fraim
                                     on behalf of Creditor Pension Benefit Guaranty Corporation fraim.brent@pbgc.gov efile@pbgc.gov

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Bruce Grohsgal
                                     on behalf of Creditor Committee OFFICIAL COMMITTEE OF UNSECURED CREDITORS bgrohsgal@pszyj.com
                                     efile@pszyj.com

Bruce Grohsgal
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Carl N. Kunz, III
                                     on behalf of Creditor Mark E. Brody ckunz@morrisjames.com wweller@morrisjames.com

Carl N. Kunz, III
                           Case 03-11989-MFW                       Doc 864           Filed 02/25/22             Page 3 of 4
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TOTAL: 52
